                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

                                    Plaintiff,
                                                     PLAINTIFF CPI SECURITY
                 v.                                  SYSTEMS, INC.’S
                                                     SUPPLEMENTAL DEPOSITION
VIVINT SMART HOME, INC. f/k/a
                                                     DESIGNATIONS OF TESTIMONY
Mosaic Acquisition Corp.; and LEGACY
                                                     TAKEN SUBSEQUENT TO THE
VIVINT SMART HOME, INC. f/k/a
                                                     JOINT PRETRIAL SUBMISSION
Vivint Smart Home, Inc.,

                                Defendants.



          Plaintiff CPI Security Systems, Inc. hereby designates the following additional

deposition testimony for use in CPI’s case in chief and/or rebuttal.1 Highlighted

transcripts of these two additional depositions are included as attachment to this

filing.


Objections Key

A: authenticity
F: foundation
FM: form (argumentative, asked and answered, compound, leading, hypothetical,
narrative, vague, misstates testimony, calls for legal conclusion)
H: hearsay
IA: inadmissible
IC: incomplete testimony
IR: improper refreshing of recollection
MIL: subject of motion in limine
R: relevance
UP: unduly prejudicial

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  The deposition testimony below was taken after submission of the parties’ joint pretrial
submissions on December 10, 2021.

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       VIVINT OFFICERS, MANAGERS AND CORPORATE DESIGNEES

  1. Vivint 30(b)(6) Designee Joshua Crittenden, Vivint Senior Vice President of
     Sales and Direct-to-Home, 12/16/2021

 Designations    Description                Vivint’s       Vivint’s       CPI’s
                                            Objections     Counter        Objections/
                                                           Designations   Responses
 6:20-7:10       Introduction               R
 7:15-9:15       Job Description            R
 10:01-12:05     Recruiting content         R, F, FM
                 creation/compensation      9:13-15,
                 for sales team             10:1-6
                 performance                (vague,
                                            foundation),
                                            FM 11:3-11
                                            (vague,
                                            foundation,
                                            compound)
 14:04-14:09     Affirmed spreadsheet       R, F
                 recognition
 15:12-16:08     Training videos            R, F, IC, FM
                                            16:5-19
                                            (vague,
                                            foundation,
                                            compound)
 16:13-16:19     “Thirty Day to Pro”        R, F, FM
                                            16:5-19
                                            (vague,
                                            foundation,
                                            compound)
 16:21-17:19     Same                       R, F
 18:02-18:07     Affirmation of video       R, F
                 year (2020)
 18:11-18:14     Video played               R, F
 18:19-19:24     Video played –             R, F, FM
                 legitimacy objections by   19:20-25,
                 potential customers        20:1-11
                                            (foundation,
                                            misstates
                                            testimony)
 20:01-20:14     Affirmation that sales     R, F, FM
                 teams are trained to       19:20-25,
                 focus on homes with        20:1-11
                 current systems and        (foundation,

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 Designations    Description               Vivint’s       Vivint’s       CPI’s
                                           Objections     Counter        Objections/
                                                          Designations   Responses
                 two cars in driveway to   misstates
                 overcome main             testimony)
                 objection in video
 20:22-21:02     Asking Crittenden to      R, F, FM
                 confirm that a company    20:22-25,
                 with a system currently   21:1-11
                 in a home as already      (foundation,
                 overcome the              vague,
                 legitimacy issue w        speculation)
                 homeowner
 21:07-22:09     Same                      R, F, FM
                                           20:22-25,
                                           21:1-11
                                           (foundation,
                                           vague,
                                           speculation)
                                           FM 22:6-25,
                                           23:1-15
                                           (foundation,
                                           speculation,
                                           assumes
                                           facts not in
                                           evidence)
 22:13-23:20     Doesn’t want to           R, F, FM
                 speculate on why a        22:6-25,
                 homeowner chose a         23:1-15
                 particular system         (foundation,
                                           speculation,
                                           assumes
                                           facts not in
                                           evidence),
                                           FM 23:16-
                                           25, 24:1-11
                                           (foundation,
                                           speculation)

 23:23-24:18     Question - if the         R, F, FM
                 homeowner believes        23:16-25,
                 that the Vivint sales     24:1-11
                 rep has an affiliation    (foundation,
                 with the existing alarm   speculation)
                                           , FM 24:11-

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 Designations    Description               Vivint’s       Vivint’s       CPI’s
                                           Objections     Counter        Objections/
                                                          Designations   Responses
                 provider that that        25, 25:1-5
                 would be one way to       (foundation,
                 overcome the              speculation,
                 legitimacy objection?     assumes
                                           facts not in
                                           evidence)

 24:24-25:05     Crittenden answers ‘no’   R, F, FM
                                           24:11-25,
                                           25:1-5
                                           (foundation,
                                           speculation,
                                           assumes
                                           facts not in
                                           evidence)

 25:17-26:12     Vivint training video     R, F, FM
                 trains reps NOT to ask    26:10-25,
                 for express permission    27:1-2
                 to come into the home     (foundation,
                                           misstates
                                           testimony,
                                           argumentati
                                           ve)
 26:14-27:06     Same                      R, F, FM
                                           26:10-25,
                                           27:1-2
                                           (foundation,
                                           misstates
                                           testimony,
                                           argumentati
                                           ve),      FM
                                           27:3-13
                                           (asked and
                                           answered,
                                           argumentati
                                           ve,
                                           foundation,
                                           misstates
                                           testimony)
 27:08-28:03     Based on that, is the     R, F, FM
                 training ethical?         27:3-13

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 Designations    Description                 Vivint’s       Vivint’s       CPI’s
                                             Objections     Counter        Objections/
                                                            Designations   Responses
                                             (asked and
                                             answered,
                                             argumentati
                                             ve,
                                             foundation,
                                             misstates
                                             testimony),
                                             FM 28:1-13
                                             (asked and
                                             answered)
 28:06-28:18     Answers ‘yes’               R, F, FM
                                             28:1-13
                                             (asked and
                                             answered)
 29:16-30:01     Affirmation that Sales      R, F
                 and Regional Managers
                 have influence how
                 their sales reps sell
 31:02-31:04     Video played. “How          R, F
                 you do one thing is how
                 you do everything”
 32:03-32:07     Q: Do you believe the       R, F, FM
                 motto is true?              31:23-25,
                                             32:1-6
                                             (foundation,
                                             vague), FM
                                             32:7-13
                                             (foundation,
                                             vague)
 32:09-32:15     Not sure how to             R, F, FM
                 answer. Q: Do you           32:7-13
                 think it holds true for     (foundation,
                 people that choose not      vague), FM
                 to sell in the right way?   32:14-20
                                             (foundation,
                                             vague,
                                             speculation)
 32:17-32:25     Q: If a sales rep           R, F, FM
                 engaged in DSP once         32:14-20
                 would it be reasonable      (foundation,
                 to assume they would        vague,
                 do so again, based on       speculation)

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 Designations    Description              Vivint’s        Vivint’s       CPI’s
                                          Objections      Counter        Objections/
                                                          Designations   Responses
                 the motto that’s         , FM 32:21-
                 taught?                  25,    33:1-6
                                          (foundation,
                                          vague,
                                          speculation)
 33:03-33:11     Same. A: No.             R, F, FM
                                          32:21-25,
                                          33:1-6
                                          (foundation,
                                          vague,
                                          speculation)
                                          , FM 33:7-24
                                          (foundation,
                                          vague,
                                          speculation)
 35:18-35:20     Ever fired someone for   R, F, FM
                 DSP?                     35:18-25
                                          (compound,
                                          foundation,
                                          vague as to
                                          DSP)
 35:23-37:24     Yes, around 50. Otto     R, F, FM
                 Zelaya                   35:18-25
                                          (compound,
                                          foundation,
                                          vague as to
                                          DSP),     FM
                                          37:23-25,
                                          38:1-3
                                          (foundation,
                                          vague)
 38:02-38:03     Doesn’t know why he      R, F, FM
                 was fired.               37:23-25,
                                          38:1-3
                                          (foundation,
                                          vague)
 38:11-38:20     Jason Newby              R, F, FM
                                          38:19-24
                                          (foundation,
                                          vague)
 38:23-38:24     Confirmation he was      R, F, FM
                 terminated for DSP       38:19-24

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 Designations    Description              Vivint’s        Vivint’s       CPI’s
                                          Objections      Counter        Objections/
                                                          Designations   Responses
                                          (foundation,
                                          vague)
 39:20-40:07     Sets a bad example to    R, F, FM
                 have reg mgr fired for   39:20-25,
                 DSP                      40:1-7
                                          (foundation,
                                          vague,
                                          speculation)
 44:01-44:04     Exhibit P245/Vivint      R, F
                 3660
 44:14-46:07     Insider Article re Josh  R, F
                 Coen
 46:14-46:15     Josh Coen – terminated R, F, FM
                 for DSP?                 46:14-23
                                          (foundation,
                                          vague)
 46:17-46:25     Coen was Terminated      R, F, FM
                 for cause/P246           46:14-23
                                          (foundation,
                                          vague)
 47:03-47:25     Exhibit P246 – sales     R, F
                 people Coen/ Pears/
                 Dougher/ Ramon
 48:10-49:04     Ogletree/Kunz also       R, F
                 sales people mentioned
                 on P246.
                 Exhibit P247 is
                 introduced – internal
                 Vivint sales article
 49:07-49:17     The rep interviewed in R, F, FM
                 the article ants to be   49:15-21
                 the next Jordan          (foundation,
                 Binning                  vague)
 49:20-49:23     Jordan Binning had       R, F, FM
                 one of the largest sales 49:15-21
                 groups                   (foundation,
                                          vague,
                                          speculation)
                                          FM 49:22-
                                          25,    50:1-2
                                          (foundation,


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 Designations    Description                 Vivint’s       Vivint’s       CPI’s
                                             Objections     Counter        Objections/
                                                            Designations   Responses
                                             vague,
                                             speculation)
 50:01-50:15     Exhibit P211/ “The          R, F, FM
                 Tour” Vivint sales          49:22-25,
                 competition                 50:1-2
                                             (foundation,
                                             vague,
                                             speculation)
                                             FM
 50:18-51:19     “The Tour” and “Pick        R, F
                 up Games” sales
                 competitions
 52:18-53:06     “Premier                    R, F
                 League”/”Viper”/”Thirty
                 Days to Pro”
 56:02-56:18     Social media –           R, F, FM
                 managers brag about      56:16-20
                 how much they make       (foundation,
                 for recruiting purposes  speculation)
 56:22-57:16     Advertising a flashy lifeR, F, FM
                 style for recruiting     57:14-21
                                          (foundation,
                                          speculation,
                                          vague)
 57:19-59:03     Josh Coen on Facebook R, F, FM
                                          57:14-25, 58:
                                          1-6
                                          (foundation,
                                          speculation,
                                          vague)
 60:14-61:08     Coen posting Detlefson R, F, FM 61:
                 with fancy car           6-19
                                          (foundation,
                                          speculation,
                                          vague,
                                          assumes
                                          facts not in
                                          evidence)
 61:11-61:24     Are posts like that      R, F, FM 61:
                 authorized by Vivint for 6-19
                 recruiting?              (foundation,
                                          speculation,

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 Designations    Description              Vivint’s        Vivint’s       CPI’s
                                          Objections      Counter        Objections/
                                                          Designations   Responses
                                          vague,
                                          assumes
                                          facts not in
                                          evidence),
                                          FM 61:20-
                                          25,    62:1-8
                                          (foundation,
                                          mischaracte
                                          rizes
                                          evidence)
 62:02-62:10     (Evasive answer.)        R, F, FM
                 VIvint sales tracking    61:20-25,
                 software                 62:1-8
                                          (foundation,
                                          mischaracte
                                          rizes
                                          evidence),
                                          FM 62:9-20
                                          (foundation,
                                          vague)
 62:13-62:20     What type of             R, F, FM
                 software/program         62:9-20
                                          (foundation,
                                          vague)
 64:03-64:25     Exhibit P95 – list of    R, F, FM
                 Vivint sales and other   64:22-25,
                 training videos          65:1-5
                                          (foundation,
                                          speculation,
                                          misstates
                                          facts      in
                                          evidence)
 65:02-65:05     Crittenden wants to      R, F, FM
                 scroll thru the list     64:22-25,
                 before answering         65:1-5
                                          (foundation,
                                          speculation,
                                          misstates
                                          facts      in
                                          evidence)
 65:19 - 66:07   Crittenden is not        R, F
                 involved in creating

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 Designations    Description                Vivint’s       Vivint’s        CPI’s
                                            Objections     Counter         Objections/
                                                           Designations    Responses
                 video content for
                 promoting competition
 66:16 - 68:04   Videos – sales             R, F
                 competition/incentive
                 trips/awards/purpose of
                 awards videos

                               CUSTOMER WITNESSES

    1. Terrell Harris, 12/09/2021 (Taken in ADT v Vivint, Case No. 20-cv-23391 S.D.
       Fla.)

 Designations     Description            Vivint’s        Vivint’s         CPI’s
                                         Objections      Counter          Objections/
                                                         Designations     Responses

 6:13-7:16        Introduction           R, MIL, IA
 7:19-7:23        Confirmation that      R, MIL, IA
                  ADT was his alarm
                  provider
 7:25-7:25        Never had contract     R, MIL, IA
                  with Vivint
 8:08-8:11        Confirmation that      R, F, MIL, IA
                  door-to-door sales
                  rep had come to his
                  home in Sept 2021
 8:14-8:16        Confirmation it        R, F, MIL, IA
                  was Vivint
 8:20-13:19       Ring video played      R, F, MIL,
                  of Vivint rep at his   IA, H
                  door who had all of
                  his personal info
                  including ADT
                  account
                  information.
                  Confirmation of
                  how he retrieved
                  the Ring doorbell
                  video that was
                  authenticated.
                  Confirmation and
                  description of his


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 Designations    Description           Vivint’s        Vivint’s       CPI’s
                                       Objections      Counter        Objections/
                                                       Designations   Responses

                 contact with Vivint
                 via Facebook.


Dated: January 5, 2022                   Respectfully submitted,

                                         SHOOK, HARDY & BACON L.L.P.


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                           CERTIFICATE OF SERVICE

      I certify that I have electronically filed the foregoing document with the Clerk
of Court using the CM/ECF system, which will send notification of filing to all counsel
and parties of record.

        This the 5th day of January, 2022.

                                                  s/ Caroline M. Gieser
                                                  Caroline M. Gieser




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